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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 16-813V
                                     Filed: February 1, 2018
                                         UNPUBLISHED


    J.R. by his parents, MAUREEN
    REVAITIS and CHRIS REVAITIS,
                                                             Special Processing Unit (SPU); Joint
                        Petitioners,                         Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Guillain-Barre
                                                             Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Lawrence R. Cohan, Anapol Weiss, Philadelphia, PA, for petitioners.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On July 8, 2016, petitioners filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioners allege that their minor child, J.R., suffered Guillain-Barré Syndrome
(“GBS”) caused-in-fact by the influenza vaccine he received on August 16, 2013.
Petition at 1; Stipulation, filed Feb. 1, 2018, at ¶¶ 1-2, 4. Petitioners further allege that
J.R. received the vaccination in the United States, continued to suffer the residual
effects of his GBS more than six months later, and that petitioners have no received
compensation for J.R.’s injury alleged as vaccine caused. Petition at ¶¶ 3, 28-29;
Stipulation at ¶¶ 3-5. “Respondent denies that J.R.’s alleged GBS, or any other
condition, was caused-in-fact by the influenza vaccine.” Stipulation at ¶ 6.



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on February 1, 2018, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards compensation in the amount of $120,500.00 as follows:

        1. A lump sum of $120,000.00 in the form of a check payable to petitioners
           as guardians/conservators of J.R.’s estate, and;

        2. A lump sum of $500.00 in the form of a check payable to Maureen
           Revaitis.

Stipulation at ¶ 8. This amount represents compensation for all items of damages that
would be available under § 15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED s·T ATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

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J.R. by his parents MAUREEN                    •
REV AITIS and CHRIS REV AITIS,                 •
                                               •
                       Petitioners,            •              No. 16-813V
                                               •              CHIEF SPECIAi. MASTER
V.                                             •              NORA B ETH DORSEY
                                               •
SECRETARY OF HEALTH AND                        •
HUMAN SERVICES,                                •
                                               •
                       Respondent.             •
•••••••••••••••••••••••••••••••••••••
                                          STIPULATION

       The parties hereby stipulate to the follow ing matters:

        l.     On behalf of their son, J.R., petilioners filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-I 0 to 34 (lhe

"Vaccine Program"). The petition seeks compensation for injuries allegedly related to J.R.'s

receipt of the influenza vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3 (a).

       2.      J.R. received an influenza immunization on August 16, 2013 .

       3.      This vaccine was administered within the United States.

       4.      Petitioners allege 1hat J.R. developed Guillain Barre syndrome ("GBS") that was

caused-in-fact by his August 16, 2013, influenza vaccination, and that he has experienced

residual effects of th is injury for more than six months.

        5.      Petitioners represent that there has been no prior award or settlement of a civil

action for damages on behalf of J.R. as a result of his condition.
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       6.       Respondenl denies that J.R. 's alleged GBS, or any other condition, was caused-in-

fact by his influenza vaccine.

       7.       Maintaining their above-stated positions. the parties nevertheless now agree that

the issues between them shal t be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of rhis Stipulation.

       8.       As soon as practicable after an entry ofjudgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioners have filed an election to receive

compensation pursuant to 42 U.S .C. § 300aa-2 l(a)( I), the Secrerary of Health and Human

Services will issue the following vaccine compensation payments:

       a.       a lump sum payment of $120,000.00, in the form of a check payable lO petitioners
                as guardians/conservators of J.R.'s estate, and

        b.      a lump sum payment of $500.00, in the form of a check payable to Maureen
                Reva it is.

These amounts represent compensation for all damages that would be available under 42 U.S.C.

§300aa-15(a).

       9.       As soon as practicable al\er the entry ofjudgment on entitlement in th is case, and

after petitioners have tiled both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2 I(a)( l ), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        t 0.    Petitioners and their anorney represent that compensation to be provided pursuant

to th is Stipulation is not for any items or services for which the Program is not primorily liable

under 42 U.S .C. § 300aa- l 5(g), to the extent that payment has been made or can reasonably be

expected to be made under 11ny State compensation programs, insurance pol icies, Federa l or



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State health benefits programs (other than Title XIX of the Social Security Act {42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11 .    Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa- I 5(i), subject

to the availability of sufficient statutory funds.

        I2.     The parties and their attorneys further agree and stipulate tha1, except for any

award for attorneys' fees and litigation costs, and past unreimbursable expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of J.R. as contemplated

by a strict construct ion of 42 U.S.C. § 300oa- I S(a) and (d), and subject to the conditions of 42

U.S.C. § 300aa-1 S(g) and (h).

        I 3.    Petitioners represent that they presently are, or within 90 days of the date of

judgment will become, duly authorized 10 serve as guardians/conservators of J.R.'s estate under

the laws of the State of New Jersey. No payments pursuant to this Stipulation shall be made

until petitioners provide the Secretary with documentation estab lishing their appointment as

guardians/conservators of J.R. 's estate. If petitioners arc not authorized by a court of competent

jurisdiction to serve as guardians/conservators of the estate of J.R. at the time a payment

pursuant to this Stipulation is to be made, ony such payment shall be paid to the party or parties

appointed by a court of competent jurisdiction to serve as guardian/conservator of the estate of

J.R. upon :;ubmission of written documentation of such appointment to the Secretary.

        14.     In return for the payments described in paragraphs 8 and 9, petitioners, in their

individual capacity and as legal representatives of J.R ., on behalf of themselves, J.R., and his

heirs, executors, admin istrators, successors or assigns, do forever irrevocably and

unconditionally release, acquit ond discharge the United States and the Secretary of Health and

Human Services from any and all actions or causes of action (Including agreements, judgments,

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claims, damages, loss of services, expenses and all demands of whatever kind or nature) that

have been brought, could have been brought, or could be;: timely brought in the Court of Federal

Claims, under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa· IO et seq.,

on account of, or in any way growing our of, any and all known or unknown, suspected or

unsuspected personal injuries to or death of J.R. resulting from, or alleged to have resulted from,

the nu vaccination administered on August 16, 20 13, as alleged by petitioners in a petition for

vaccine compensation filed on or about July 8, 2016, in the United States Court of Federal

Claims as petition No. I 6·8 I 3V.

        15 .   If J .R. should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        16.    If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the Court of Federal Claims fa ils lo enter judgment in confonnity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties'

seulement and this Stipulation shall be voidable at the so le discretion of either party.

        17.    This Stipulation expresses a full and complete negotiated senlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 12 above. There is absolutely no agreement on the part

of the parties hereto to make any payment or to do any ace or thing ocher than is herein expressly

stared and clearly agreed to. The parries further agree and understand that the award described in

chis Stipulation may reflect a compromise of the parties' respective positions as to liabilicy and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

icems of compensation sought, is not grounds to modify or revise this agreement.




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       18.     This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that J.R.'s alleged GBS, or any other condition, was

caused-in-fact by his   nu vaccination .
        19.    All rights and obligations of petitioners hereunder shall apply equally to

petitioners' heirs, executors, administrators, successors, and/or assigns as legal representatives of

J.R.

                                       END OF STIPULATION
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     PETITIONERS:




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